Case 3:21-cv-00060-RLY-MPB Document 27 Filed 02/15/22 Page 1 of 1 PageID #: 80




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION

LATOSHIA McCANN,                          )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )      CAUSE NO. 3:21-cv-00060-RLY-MPB
                                          )
BERRY GLOBAL, INC.                        )
                                          )
       Defendant.                         )

                          ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff, Latoshia McCann, and Defendant, Berry Global, Inc., have filed their Joint

Stipulation of Dismissal with Prejudice seeking dismissal of this matter with prejudice. The

Court has examined the Stipulation, been duly advised, and now finds that the matter

should be dismissed.

       IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this matter is

dismissed with prejudice. Each party shall bear its own costs.

       SO ORDERED this 15th day of February 2022.



                                   _________________________________________
                                   RICHARD L. YOUNG, JUDGE
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA




Service will be made electronically on all ECF-registered counsel of record via email
generated by the court’s ECF system.
